              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:15-cv-00109-MR


SANDRA M. PETERS, on behalf of  )
herself and all others similarly)
situated,                       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                  ORDER
                                )
AETNA INC., AETNA LIFE          )
INSURANCE COMPANY, and          )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                           )
                                )
                   Defendants.  )
_______________________________ )

      THIS MATTER is before the Court on the Plaintiff’s motions for the

admission of attorneys Andrew N. Goldfarb and Alyssa M. Howard as

counsel pro hac vice.      [Docs. 260, 261].       Upon careful review and

consideration, the Court will allow the motions.

      IT IS, THEREFORE, ORDERED that the Plaintiff’s motions [Docs. 260,

261] are ALLOWED, and Andrew N. Goldfarb and Alyssa M. Howard are

hereby granted pro hac vice admission to the bar of this Court, payment of

the required admission fees having been received by the Clerk of this Court.




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IT IS SO ORDERED.
                        Signed: October 25, 2021




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